 Case 3:21-cv-01606-E-BK Document 18 Filed 09/22/21               Page 1 of 1 PageID 96



                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION


LUIS SALAZAR,                                 §
                                              §
              Plaintiff,                      §
                                              §
V.                                            §           No. 3:21-CV-1606-E-BK
                                              §
PENNY L. FIEG, ET AL.,                        §
                                              §
              Defendants.                     §


            ORDER ACCEPTING FINDINGS, CONCLUSIONS, AND
       RECOMMENDATION OF THE UNITED STATES MAGISTRATE JUDGE

       The United States Magistrate Judge made Findings, Conclusions, and a Recommendation

in this case. Objections were filed. The District Court reviewed de novo those portions of the

proposed findings, conclusions, and recommendation to which objection was made, and reviewed

the remaining proposed findings, conclusions, and recommendation for plain error. Finding no

error, the Court ACCEPTS the Findings, Conclusions, and Recommendation of the United States

Magistrate Judge.

       SO ORDERED this 22nd day of September, 2021.




                                           ____________________________________
                                           UNITED STATES DISTRICT JUDGE
